Case 2:05-cv-04182-SRD-JCW Document 5533-2 Filed 06/12/07 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
IN RE KATRINA CANAL BREACHES Civil Action No. 05-4182
CONSOLIDATED LITIGATION
PERTAINS TO: INSURANCE — (06-2143)

MOLLIE SOLOMON, WIFE OF/AND

*
*
*
*
* Judge Duval
*
AVRAM C. HERMAN *
*

Magistrate Judge Wilkenson

y

Plaintiffs,

Versus

THE TRAVELERS INSURANCE
COMPANY, et al.,

Ho

Defendants.

weak awe kaw eke ke ke eee Ke eee Ae A Aa A ee A OK

JOINT MOTION AND ORDER OF VOLUNTARY PARTIAL DISMISSAL

NOW INTO COURT, come Mollie Solomon Herman and The Standard Fire Insurance
Company, improperly identified as The Travelers Insurance Company, by and through their
counsel, and suggesting to this Court that the parties have settled certain of Plaintiff's claims,
desire to dismiss with prejudice, with each party to bear its own costs, any and all claims and
causes of action asserted in the captioned matter for wind related damages arising out of or
resulting from Hurricane Katrina, while specifically reserving unto Plaintiff those claims that
Plaintiff may have for loss or damage to the Dwelling or to Personal Property caused directly by

water that was
Case 2:05-cv-04182-SRD-JCW Document 5533-2 Filed 06/12/07 Page 2 of 2

released from one of the canals or waterways, including the Mississippi River Gulf Outlet,
during and subsequent to Hurricane Katrina, in the City of New Orleans on or about August 29,

2005 or thereafter and that entered the Dwelling.

GE Wear VINCENT, & PLOTKIN

BY: ML.H. Gerdfer, Esq., La. Bar #6036
127-129 Carondelet Street
New Orleans, Louisiana 70130
Attorney for Mollie Solomon Herman

and

LUGENBUHL, WHEATON, PECK, RANKIN &
HUBBARD

Cee
BY: TINA L. KAPPEN, La. Bar #29579
RALPH S. HUBBARD III, T.A., La. Bar #7040
601 Poydras Street, Suite 2775
New Crleans, Louisiana 70130
Telephone: (504) 568-1990
Attorneys for The Standard Fire Insurance Company

